   Case
    Case2:10-md-02179-CJB-DPC Document 5557
         2:10-md-02179-CJB-SS Document 5619-2 Filed
                                               Filed02/01/12
                                                     02/08/12 Page
                                                               Page1 1ofof1 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                         MDL NO. 2179
      “Deepwater Horizon” in the Gulf
      of Mexico, on April 20, 2010                      SECTION J

Applies to: All Cases                                   JUDGE BARBIER
                                                        MAGISTRATE JUDGE SHUSHAN

                                            ORDER

                                   [Regarding Steve Newman]

       BP contends that, pursuant to Fed. R. Civ. P. 45(a), Steve Newman should be produced at

the trial. Rec. doc. 5409. Transocean opposes the request. Rec. doc. 5502. BP submitted a reply.

For the reasons presented by BP, the request for Newman to appear live at the trial is timely. For

the reasons presented by Transocean, Transocean Ltd. is not a party for purposes of application of

Rule 45. Accordingly,

       IT IS ORDERED that: (1) BP’s request for an order requiring Transocean to produce

Newman live at the trial (Rec. doc 5409) is DENIED; and (2) Wednesday, February 8, is the

deadline for an appeal of this order.

       New Orleans, Louisiana, this 1st day of February, 2012.




                                                            SALLY SHUSHAN
                                                            United States Magistrate Judge
